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Federal Correctional lnstitute 2
Post Office Box 3850

Adelanto, California 92301

UNITED`STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ELwooD STAUDINGER
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V.

; Case 2:15-cv-O7808-AB-.]C Document 1 Filed 10/05/15 Page'l of 15 Page|D #:1

 

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MEDCAH INCORPORATED,

Defendant.

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A. JURISDICTION
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This is an action that alleges that this court has federal

question jurisdiction over this action pursuant to 28 U.S.C. § 1332

because:

a. The plaintiff is an individual residing in and a citizen of the state

' of "caiifornia ;

b. The defendant is a corporation organized and existing under the laws

of the State of Hmwii

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with its principle place of business in

e. There is a complete diversity of citizenship between plaintiff and the

defendant.

B. DEFINlTlONS

2. The plaintiff,Ebmmd Summhnger is a Hconsumer" as defined by

15 U.S.C. § 16923(3), as " any natural person obligated or allegedly

obligated to pay any debt."

3. The defendant, MXhah hmorpomued is a "debt collectorH as

defined by 15 U.S.C. § lb$?a(@), as " any person who uses any

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Case 2:15-cv-O7808-AB-.]C Document 1 Filed 10/05/15 Page 2 of 15 Page |D #:2

instrumentality of interstate commerce or the mails in any business
the principle purpose of which is the collection of any debts, or who
regularly collects or attempts to collect, directly or indirectly, any
debts owed or due or asserted to be owedor due to another,"
C. 7 STATEMENT CF THE CASE .

4.- On July§UL 2015 , The plaintiff obtained_a copy of his
credit report from Equifax lnformation Services, Experian lnformation

Solutions, and Trans Union Corporation which revealed that(}gwergent

~C@tmlm@ing ("defendant") had placed an entry on plaintiffs credit

report which communicated that plaintiff allegedly had an account in

default with the defendant in the amount Of $649.00 through

SSSigHm€HC fl`Om the original creditor dated 03/01/2012 . See ExhibitA.

5-' O“ August 5; 2015 9 the defendant took receipt of plaii\tiffs

"Notice of Relief", requesting the defendant validate the alleged debt
pursuant to the Fair Debt Collection Practices Act ("FDCPA"); 15 U.S.C.
§ 1692g(a) and 1692g(b), through certified mail receipt which is numbered
70081830000450345400 and attached as E)<hibitij..v lt should be noted that
the defendant refused top respond to plaintiffs validation request.
D. CLAIM ONE

6. The plaintiff asserts that defendant violated section
15 U.S.C. § 1692e(2}(A) of the Fair Debt Collections Practices Act
when the defendant reported to Equifax information Services, Experian
information Solutions, and Trans Union Corpporation that the plaintiff
is in default with the defendant in the amount of $649&$ through
3331%“"“¥\£ ffO“l the original creditor.

7.

See ExhibitA_
Snyder v. Gordon, 2012 U.S. Dist LEXIS 120659, (ch Cir.)

which states, " The FDCPA prohibits the false representation of the

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" character, amount, or legal statusH of any debt' § 1592€(2)(A)~
A misstatement of a debt need not be knowing or intentional to create

liebiiity under this eee£ien§ cieek, 460 F.3d en 1176."

8. The defendant intended to manipulate the plaintiff by

feieeiy representing chen the eiieged debt which is e violation et the
Fair Debt COllections Practices Act ("FDCPA"), This constitutes a
vilation of the "Act" as a matter of law.

9. The plaintiff hereby seeks statutory damages in the amount'

of $1,000.00 for the defendants violation of 15 U.S.C. § 1692@(2)(A)
of the ("FDCPA").
E. cLAiM Two;

10. The plaintiff asserts that defendant violated section 15

U.S.C. § 1692€(8) of the Fair Debt Collections Practices Act when the
defendant communicated false information concerning the alleged debt
that the plaintiff never owed t0 the defendant, nor had the alleged debt
been assigned to the defendant. The defendant communicated to Equifax
lnfo*mation Services, Experian lnformation Solutionsd and Trans Union
Corporation false informstion, stating that the defendant had been
assigned to collect said debt from the plaintiff, and the plaintiff
was in default for $649_00 to the defendant. See ExhibitAe

11. Nelson v. Equifax lnformation Setvices. LLC. 522 F. Supp. 2d
1222 (ch Cir. 2007) states, " in order to sustain a section 1692e(8)

claim, a party must show that a debt collector communicated or

threatened to communicate credit information which they knew or should

have known was false, including failing to communicate that debt was
disputed". Medcahjhmorporated never had a valid assignment
authorizing them to pursue and report to credit bureaus alleged debts

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'associated with the plaintiff.

y11. Plaintiff hereby seeks statutory damages in the amount of

$1,000.00 for the defendants violation of 15 U.S.C. § 1692e(8) of the
(“FDCPA").
F. cLAiu THREE

12. Plaintiff asserts that defendant violated seection 15 U.S;C
§ 1692e(10) of the Fair Debt Collections Practices Act when the defendant'
used false and deceptive means to attempt to collect a debt from the
plaintiff. By communicating false information, the defendant attempted

to gain an advantage of an unsophisticated consumer through false

misrepresentation.

13. Heathman v. Portfolio Recovery Assocs., LLC,'U.S. Dist. Lexis

27057 (9th Cir. 2013) states, " A debt collector violates
1692@(10) if it 'use[s]...

sectionv

a false representation or deceptive means

to collect or attempt to collect any debt or to obtain information
concerning a consumer ("a debt collectors representation that a debt is

owed to it when in fact is not, amounts to a misrepresentation barred

'by the ("FDCPA~)."

14. v Plaintiff hereby seeks statutory damages in the amount of
$1,000.00 for the defendants violation of 15 U.S.C. § 1692e(10) of the
("tnePA"). '

G- 2 CLAIM FOUR

15. Plaintiff asserts that defendant violated section 15 U.S.C.

§ 1692e(12) of the Fair Debt Colleetions Practices Act when the
defendant communicated the false representation that the alleged account

this turned over to lwdcahfhmorporated for value to hquifax lnformatior

Services, Experian lnformation Solutions, and lrans Union Corhnration

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Case 2:15-cv-O7808-AB-.]C Document 1 Filed 10/05/15 Page 5 of 15 Page |D #:5

See Exhibit A.'lhe defendant never received assignment to pursue or
report to credit bureaus alleged debts associated with the plaintiff.
lo.& Fortunato v. Hop Law Firm, LLC, U.S. Dist. LRXIS 152712

(9th Cir. 2012) states, "Section 1692e(12) prohibits " The false
representation or implication that accounts have been turned over to
innocent purchasers for value", when determining whether a
misrepresentation in a debt collection has been made, the court must
apply the "least sophisticated debtor" standard and make a determination
as to whether the debto would be Hdeceived or mislead by the
misrepresentation"; quoting Wade v.Reg’l Credit Ass'n, 87 F. 3d 1098,
1098~100 (9th Cir. 2006).

17. lhe plaintiff hereby seeks statutory damages in the amount of
$l,OO0.0U for the defendants violation of 15 U.S.C § 1692e(l2) of the
(“FDCPA"). 7
H, CLAIM FIVE

18. Plaintiff asserts defendant violated section 15 U.S.C. §
loQZf(l) of the Fair Debt Collections Practices Act when the defendant
used unconscionable means to attempt to collect an alleged debt by
reporting to Equifax lnformation Services, Experian information
iiol.utions, and 'l"rans U`nion {§orporation that Medcah lncorporated
ned obtained legal permission, documented by a valid assignment tnat
the plaintiff was now in default with a debt owed to the defendant with
a dent owed to the defendant with ;he attempt to force tne plaintift>
to pay tne t 649AX) allegedly owed.

19. Sukiasyan v. UCS necovery lnc., U.b. Dist. LEXlS 29877
(vth Cir. ZUlj) states, "a debt collector may not use unfair or

unconscionable means to collect or attempt to collect any debt,

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20. Without limiting the general application of the foregoing
the following conduct is a violation of this section: (1) lne
collection ot any amount tincluding any interest, tee, cnargc? or

expense incidental to the principle obljg ntiou) unles_ SuCn amount 15
expressingly authorized by the agreement creating the debt or permitted

by law." Minus the agreement to collect on the attempted debt, the
defendant is in direct violation of this section.

Zi, Plaintiff hereby seeks statutory damages in the amount of

$1,000.00 for the defendants violation of 15 U.S.C. § leZf(l)-of the
("FDCPA"). '

l. CLAIM SIX
22. The plaintiff asserts that defendant violated section
15 U.S.C. § 1692g(b) of the Fair Debt Collections Practices Act when

he refused to respond to plaintiffs validation request. The defendant

took receipt of plaintiffs "Notice of Administrative Remedy" and

requested that the defendant provide the original creditors name

address, and verification of the alleged assignment\or documents that

gives Medcah lncorporated the legal right to pursue and report to

credit bureaus alleged debts associated with the plaintiff. The defendant

took receipt of plaintiffs request for validation through certified

mail receipt #7003183XWOAJXM5417 , which is attached as Exhibit B.

23. Danaher v. Northstar Location Servs., U.S. Dist. LEXlS 77606

(ch Cir. 2013) states, " lt the consumer notifies the debt collector

in writing within the thirty-day period described in subsection (a) of

this section that the debt, or any portion tereof is disputed, or that

the consumer requests the name and address of the original creditor,

the debt collector shall cease collection of the debt, or any disputed

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portion thereof, until the debt collector obtains verification or
judgement, or name and address of the original creditor, is mailed to

the consumer by the debt collector.¢ By MKRJJ;$CUIDE&UN_ refusing

to communicate with the plaintiff regarding the original creditor and
the alleged assignment or documents that granted the defendant the
right to report to the credit reporting agencies that the defendant

legally obtained the alleged debt. The defendant is in violation of
section 1692g(b).

24. The plaintiff hereby seeks statutory damages in the amount

of $1,000.00 for the defendants violation of 15 U.S.C. § 1692g(b) of
the ("FDCPA").
J. 7 DAMAGES
25. 15 u.s.c. § 1692k ~ civil Liabiicy s (a) Amount er manages
#_Except as otherwise prohibited by this section, any debt collector
who fails to comply with any provision of this title [15 USCS §§ et seq]

with respect to any person is liable to such person in an amount equal

to the sum of:

(2)(A) in the case of any action by an individual, such additional
damages as the court may allow, but not exceeding $1,000.00.

K. REQUESTED RELIEF

CLAlM ONE: A violation of 15 U.S.C. § 1692(2)(A) of the ("FDCPA")
is $1,000.00 for the false representation of debt reported to Equifax

information Services, Experian information Solutions, and Trans Union

Corporation.

TOTAL DAMAGES: + $3,000.00

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cLAIM Two; A violation ar 15 U.s.c. § 1692@(3) of the ("FDCPA") is

$1,000.00 for submitting false information to each of the three credit
reporting agencies Equifax lnformation Services, Experian lnformation
Solutions, and Trans Union Corporation by the defendant.

ToTAL DAMAGES: 1 + $3,000.00

CLAIM THREE: A violation of 15 U.S.C. § 1692e(10) of the ("FDCPA") is

$1,000.00 for the false communication by the defendant to Equifax

lnformation Services, Experian lnformation Solutions§ and Trans Union

Corporation.

ToTAL DAMAGES: + $3,000.00

CLAlM FOUR:¢A Violation of 15 UfS.C. § 1692e(12) of the ("FDCPA") is

$1,  000. 00 for the false representation by the defendant regarding the

'plaintiffs alleged debt reported to Equifax lnformation Services,

Experian lnformation Solutions, and Trans Union Corporation.

TOTAL DAMAGES: + $3,000.00

CLAIM FIVE: A violation of 15 U.S.C § 1692f(1) of the ("FDCPA") is

$1,000.00 for the unconscionable means used by the defendant to
attempt to collect on a debt by the plaintiff. This includes reporting
to the three major credit reporting agencies Equifax lnformation

Services, Experian lnformation Solutions, and Trans Union*Corporation

of the unconscionalbe means to collect.

TOTAL DAMAGES: + $3,000.00

CLAlM SlX: A violation of 15 U.S.C. § 1692g(b) of the ("FDCPA") is
$1,000.00 for refusing to validate the alleged debt that the defendant
reported to the three credit reporting agencies, Equifax lnforamtion

Services, Experian information Solutions, and Trans Union Corporation.

TOTAL DAMAGES: + $1,000.00

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26. The total amount of damages requested by the plaintiff is

$16,350.00.

27. The $350.00 added is the court cost associated with this

action.

l Ebmxxl$tmnhngen hereby declare under penalty of perjury in

the state of Cahfornna , that the information stated above and any

attachments to this form is true and correct.

  

DATED:

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Credit Cards, Loans & Other Debt

Here you will find specific information on each account you opened, including current status and any past due information Posi§ive credit information remains on your
report indenniteiy. Creditor con!aci information has been provided in order to make it easier for you 10 resolve any issues

 

 

 

 

 

 

 

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